                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

GUADALUPE ADAMS,                                        )
                                                        )
                      Plaintiff,                        )
                                                        )
       v.                                               )   Case No. 6:15-cv-03273-MDH
                                                        )
KICKAPOO CORNERS, LLC,                                  )
                                                        )
                      Defendant.                        )

                                             ORDER

       Pursuant to the Stipulation of Dismissal filed by the parties in this matter (Doc. 10), and

in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the above-captioned lawsuit

is hereby DISMISSED WITH PREJUDICE and each party shall bear its own costs and fees,

except as otherwise agreed in writing by the parties.


IT IS SO ORDERED.
Date: August 25, 2015
                                              /s/ Douglas Harpool
                                             DOUGLAS HARPOOL
                                             UNITED STATES DISTRICT JUDGE




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